Case 09-10200-BLS Doc1 Filed 01/19/09 Page 1 of 16

B 1 (Official Form 1) (1/08)

 

United States Bankruptcy Court

  
      

 

 

 

 

: ae
& Pieeag en tees

Name of Debtor (if individual, enter Last, First, Middle). Name of Joint Debtor (Spouse) (Last, First, Middle):
American Corrective Counseling Services, Inc.
‘All Other Names used by the Debtor in the last 8 years All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names): (include married, maiden, and trade names):
American Corrective Group; Bad Check Program
Last four digits of Soc. Sec. or Indvidual-Taxpayer 1.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec, or Indvidual-Taxpayer I,D. {ITIN} No,/Complete EIN
Whee Epa, state all): (if more than one, state all):
Street Address of Debtor (No. and Street, City, and State): Street Address of Joint Debtor (No. and Street, City, and State):

180 Avenida La Pata, Suite 200
San Clemente, California

fir CODE 92673) zip CODE |

 

 

 

County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Orange County
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):

fair CODE ] [ZIP CODE |

Location of Principal Assets of Business Debtor (if different from street address above):
[zip CODE |

 

 

 

 

 

 

 

 

 

 

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)
(J ~~ Health Care Business (J Chapter 7 (J Chapter 15 Petition for
(1 __ Individual (includes Joint Debtors) [1 _ Single Asset Real Estate as definedin | (] Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C. § LO1(S1B) (4 Chapter 11 Main Proceeding
GA Corporation (includes LLC and LLP) O]_ sRailroad Ci Chapter 12 C] Chapter 15 Petition for
(0 Partnership O1 © Stockbroker 0 Chapter 13 Recognition of a Foreign
(1 _— Other (If debtor is not one of the above entities, [J] Commodity Broker Nonmain Proceeding
check this box and state type of entity below.) Clearing Bank
Other . Nature of Debts
ad check diversion programs (Check one box.)
_ _ sete Tax-Exempt Entity
(Check box, if applicable.) (1 Debts are primarily consumer ff Debts are primarily
debts, defined in 11 U.S.C business debts.
(CO Debtor is a tax-exempt organization § 101(8) as “incurred by an
under Title 26 of the United States individual! primarily for a
Code (the Internal Revenue Code). personal, family, or house-
hold purpose.”
Filing Fee (Check one box.) Chapter 11 Debtors
Check one box:
(Hf Full Filing Fee attached. (]__ Debtor is a small business debtor as defined in 1! U.S.C. § 101(5!D).

(1s Filing Fee to be paid in installments (applicable to individuals only). Must attach | GA Debtor is not a small business debtor as defined inl) U.S.C. § 101(51D).
signed application for the court’s consideration certifying that the debtor is

unable to pay fee except in installments. Rule 1006(b). See Official Form 3A. Cheek if:
() Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
(Filing Fee waiver requested (applicable to chapter 7 individuals only). Must insiders or affiliates) are less than $2,190,000.

attach signed application for the court’s consideration, See Official Form BBL | wee eee n nce errr rrr rr este

Check all applicable boxes:

OO séAplanis being filed with this petition.

(Acceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 11 U.S.C. § 1126(b).

 

 

Statistical Administrative Information THIS SPACE IS FOR
COURT USE ONLY

wt Debtor estimates that funds will be available for distribution to unsecured creditors.

O Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for

distribution to unsecured creditors.
Estimated Number of Creditors

 

 

 

Oo a) 0 be O O O Oo oO

1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over
5,000 19,000 25,000 $0,000 100,000 100,000
Estimated Assets
O 0 O J rf O O O O Oo
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 bilhon
million million million million million

Estimated Liabilities
oO Oo O QO ww O O O O O
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion

 

million million million million million

 

 

 
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B 1 (Official Form 1) (1/08) Page 2
Voluntary Petition Name of Debtor(s): . .
(This page must be completed and filed in every case.) American Corrective Counseling Services, Inc.
All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)

Location Case Number: Date Filed:

Where Filed:

Location Case Number: Date Filed:

Where Filed:

Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: Case Number: Date Filed:
District: Relationship: Judge:
Exhibit A Exhibit B
(To be completed if debtor is an individual

(To be completed if debtor is required to file periodic reports (¢.g., forms 10K and whose debts are primarily consumer debts.)

10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)

of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.) I, the attomey for the petitioner named in the foregoing petition, declare that |
have informed the petitioner that [he or she] may proceed under chapter 7, 11,
12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter, I further certify that | have delivered to the
debtor the notice required by 11 U.S.C. § 342(b).

(CJ Exhibit A is attached and made a part of this petition. &

Signature of Attorney for Debtor(s) (Date)

 

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
CO _s°¥es, and Exhibit C is attached and made a part of this petition,

WI No.

 

Exhibit D
(To be completed by every individual debtor. Ifa joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
(1 Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

[] Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box.)
O Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

vi There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
O Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or

has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
this District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

oO Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

oO Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

oO Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
filing of the petition,

Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).

 

 

 
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61/18/2689 14:27 9492668991 MICHAEL SCHRECK PAGE 83/63
<= + -
B 1 (Official Formn) 1 (1/08) ~ asin Page 3_
(inp ae becobptend coed filed tn every case.) American Corrective Counseling Services, Inc.
Sicuatare(s) of Debtor(s) (Inaividizal Joint) Signatare of 2 Foreign Representative

declare imder penalty informacion ident in ius petition is I declare under penally of perjury that tha infortostion provided in this petition is uc
sn eoerect pease roves = and comect, that I am the forcigg representative of a debtor in a foreign proceeding,
(UF petitioner is an ihdividal whose debts are primarily consumer debts axl bas and that ] am authorized to file this petition,

chaach to file under chapter 7] Iam aware that I may penoted under charmer 7.11, 12 (Check ony owe box)
or 13 of title 11, United States Code, understand the relief available under each puch

chapter, end choose tb proceed under chapter 7. [0 I request relief in accordance with chapter 15 of ttl: 11, United Stata Code.

[if ne attomey represtnts me and no benkruptcy petition preparer signs the petition) 7 Certified copies of the documeras required by 11 U.S.C. § 1515 are attached.
bave obtained and read the notice required by 11 U.S.C. § 342{5),

| 1 Pursuant to 1} U.S.C. § 1511, | request relief in accondance with the
J request relief in abeotdunct with the chapicr of title 11, Unimd States Code, chapter of title 11 specified in thus petition. A certified copy of the

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

specified in this pedtion. order granting recogrition of the forcign mai proceeding is attached,
x x
Signature of Debtor (Signature of Forcign Representative)
x |
Signature of Joits Debtor (Printed Name of Foreign Representative)
re
Telephone Nundber (if not z<presemtad by attomcy) =
Detc } _
| //  Siguarare of Attoracy* Siguaturs of Now-Attoreey Ranlrumptey Petition Preparer
ip f an .
x ° i \ | I deelate under penalty of perjury thet; (1) 1 am a benkruptey petition preparer 2s
fax Debtor(s) ¢ defined in 11 U.S.C. § 11D; (2)] prepared this document for contpensation and have
gman, ZL peovuied the detior win a copy of this document wad the notices and. infoumntion
z Debtor(s) required under 11 U.S.C. §§ 110(b), 110(h), and 342(b), end, (3) if nWes or
Peppe i (__—_—— guidelines hore been proomilgsind pursuant 11 U.S.C. § 10h) seting = maxiniam
mn Nome, se} fee for services chargeable by bankruptcy petition preparers, given the debtor
Pom NOME 13 Masket Street Stite 5100 ie he abe tac apa siaply joined Pip oy py
Address Wiknington, DE 19801 ~\ or accepting any fcc from the debtor, au required in that section. Official Form 19 is
| ~. attached.
‘.
“(308 777-6500 = seas _
Telephone Number Printed Name and tide, ifany, of Bankruptcy Potition Preparer
Date SocialSecurity number (if the benkiupicy petition preparer isnot en individual,
. state the Social-Seourity numbar of the officer, principal, responsible person or
"In a case in which § 7OAbXK4XD) applies, this signature also constitutes a

 

partner of the bankruptcy petition preparer.) (Required by 17 U.S.C. § 110.)
certification that the sttorney has no knowledge after an inquiry that the information
is Rela re .

Stfnatere of Debtor (Corporation/Partucrship)
I declare under penalty of perjury that the information provided in this petition is wue | x

and cofvect, and that 1 have been authorized to file this petition on behalf of the
debtor i

 

 

 

 

 

: Dat:
The debtor requests the ielicf in eccocdance with theatdipter of title 11, United States

 

 

 

 

to the appropriate official form for cach person.

Cod, specified. ier tis petition, Signature of beiouptcy petition preparer or officer, pemecipal, responsible person, of
pertier whose Social-Security mimber is provided shoe.
x _ | wae :
Mi : Jadividtal Names and Soctw!-Security numbers of all other individuals who prepared or assisted
led OF : — in preparing this document unlcas the bankruptcy patition preparer is not an
Chief Executve Gitcer imedivichsa.
Title of Author i : ss ;
tT 0 q If more than one person prepared this detumont, attach additonal sheets conforming
Oa :
|

i A bankruptcy petition preparer's failure to comply with the provisions af title 1] and
| the Federal Rules of Bankruptcy Procedure may result in finex or ieprisonment or
bork, II USC. § U0; I USC, § 156

 

 

 

 
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UNANIMOUS WRITTEN CONSENT
OF THE BOARD OF DIRECTORS OF AMERICAN CORRECTIVE COUNSELING
SERVICES, INC.

The undersigned, being all of the members of the board of directors (the “Board of
Directors”) of American Corrective Counseling Services, Inc. (the “Company”), a California
corporation, and acting in accordance with Section 307(b) of the California General Corporation
Law, hereby consent to the following actions and adopt the following resolutions by written
consent in lieu of a meeting of the Board of Directors.

WHEREAS, the Board of Directors has considered the financial and operational aspects
of the Company’s business;

WHEREAS, the Board of Directors has reviewed the current status of the Company in
light of recent events;

NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board of Directors
of the Company, it is desirable and in the best interests of the Company, its creditors, employees,
stockholders and other interested parties that a petition be filed by the Company seeking relief
under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”);

RESOLVED, that Michael Schreck, the Chief Executive Officer of the Company and
the other officers of the Company (each, an “Authorized Officer”) be, and each of them hereby
is, authorized on behalf of the Company to execute, verify and file all petitions, schedules, lists,
and other papers or documents, and to take and perform any and all further actions and steps that
any such Authorized Officer deems necessary, desirable and proper in connection with the
Company’s chapter 11 case, with a view to the successful prosecution of such case;

RESOLVED, that the Authorized Officers of the Company be, and each of them hereby
is, authorized and empowered to obtain post-petition financing according to terms which may be
negotiated by the management of the Company, including under debtor-in-possession credit
facilities or the use of cash collateral; and to enter into any guarantees and to pledge and grant
liens on its assets as may be contemplated by or required under the terms of such post-petition
financing or cash collateral agreement (“DIP Financing”); and in connection therewith, the
officers of the Company are hereby authorized and directed to execute appropriate loan
agreements, cash collateral agreements and related ancillary documents;

RESOLVED, that the Authorized Officers, on behalf of the Company, are authorized and
empowered to retain the law firm of Friedman Kaplan Seiler & Adelman LLP (“FKSA”) as
bankruptcy counsel to the Company to represent and assist the Company in carrying out its
duties under chapter 11 of the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights in connection therewith, and the Authorized Officers are hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate application
for authority to retain the services of FKSA;

7O1055.1
Case 09-10200-BLS Doc1 Filed 01/19/09 Page 5 of 16

RESOLVED, that the Authorized Officers, on behalf of the Company, are authorized and
empowered to retain the law firm of Pepper Hamilton LLP (“Pepper Hamilton”) as bankruptcy
counsel to the Company to represent and assist the Company in carrying out its duties under
chapter 11 of the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights in connection therewith, and the Authorized Officers are hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the bankruptcy, and to cause to be filed an appropriate application for authority
to retain the services of Pepper Hamilton;

RESOLVED, that the Authorized Officers of the Company be, and hereby are, authorized
to employ any other professionals necessary to assist the Company in carrying out its duties
under the Bankruptcy Code; and in connection therewith, the officers of the Company are hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers
prior to or immediately upon the filing of the chapter 11 case and cause to be filed appropriate
applications with the bankruptcy court for authority to retain the services of any other
professionals, as necessary, and on such terms as are deemed necessary, desirable and proper;

RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized on
behalf of the Company to take any and all actions, to execute, deliver, certify, file and/or record
and perform any and all documents, agreements, instruments, motions, affidavits, applications
for approvals or rulings of governmental or regulatory authorities or certificates and to take any
and all actions and steps deemed by any such Authorized Officer to be necessary or desirable to
carry out the purpose and intent of each of the foregoing resolutions and to effectuate a
successful chapter 11 reorganization; and

RESOLVED, that any and all actions heretofore taken by any Authorized Officer or the
directors of the Company in the name and on behalf of the Company in furtherance of the
purpose and intent of any or all of the foregoing resolutions be, and hereby are, ratified,
confirmed, and approved in all respects.

RESOLVED, that any and all actions heretofore taken by any Authorized Officer or
director of the Company in the name and on behalf of the Company, in furtherance of the
purpose and intent of any of the foregoing resolutions, be, and they hereby are, ratified,
confirmed, and approved in all aspects.

[signature pages follow]

701055.1
Case 09-10200-BLS Doc1 Filed 01/19/09 Page 6 of 16
81/17/2889 86:48 9492668991 MICHAEL SCHRECK PAGE 86/18

IN WITNESS WHEREOF, the undersigned have executed this Unanimous Written
Consent. This Unanimous Consent may be signed in multiple counterparts, which together shall
constitute a single document.

January 16, 2009

Russell Schreck Michael Schreck

701089.1
Case 09-10200-BLS Doc1 Filed 01/19/09 Page 7 of 16

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

x
In re: : Chapter 11
AMERICAN CORRECTIVE : Case No. 09-___ (_)
COUNSELING SERVICES, INC.,!
(Jointly Administered)
Debtors.
-X

LIST OF CREDITORS HOLDING
20 LARGEST UNSECURED CLAIMS

Following is a list of the Debtors’ creditors holding the 20 largest unsecured
claims on a consolidated basis. The list is prepared in accordance with Fed. R. Bankr. P. 1007(d)
for filing in this chapter 11 case. The list does not include (1) persons who come within the
definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
the collateral is such that the unsecured deficiency places the creditor among the holders of the

20 largest unsecured claims.

 

 

 

Name, telephone number and Nature of claim ~. | a AMOUNT OF
complete mailing address, trade debt, bank | 7 | & a | CLAIM (if
including zip code, of employee, loan, government F a EB secured also
agent, or department of creditor contract, etc. Z. 5 = | state value of
familiar with claim who may be E oY a security)
contacted o}]-A 5

vg
Jones Day Legal Fees vY | $1,329,218.16
3 Park Plaza, Ste 1100
Irvine, CA 92614-5976
c/o S. M. Harpen
Tel: (949) 851-3939

 

 

 

 

 

 

 

 

 

' The Debtors in these cases, along with each Debtor’s federal tax identification number, are: SCH Corp. (20-
1829454); American Corrective Counseling Services, Inc. (XX-XXXXXXX); and ACCS Corp. (XX-XXXXXXX). For
purposes of these chapter 11 cases, the address for all Debtors is: 180 Avenida LaPata, San Clemente, CA 92673.

704414.1
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Name, telephone number and
complete mailing address,
including zip code, of employee,
agent, or department of creditor
familiar with claim who may be
contacted

Nature of claim
trade debt, bank
loan, government
contract, etc.

CONTINGENT

UNLIQUIDATED

DISPUTED

AMOUNT OF
CLAIM (if
secured also
state value of
security)

 

Payne & Fears, LLP

4 Park Plaza, Suite 1100
Irvine, CA 92614

c/o Scott S. Thomas
Tel: (949) 851-1100

Legal Fees

<

$ 200,401.79

 

BTI Communications Group LTD
15700 W. 103rd Street, Suite 110
Lemont, IL 60439

c/o Eric Brackett

Tel: (562) 298-5001

Telephone
Equipment

$ 91,500.00

 

Kieckhafer, Schiffer & Co. LLP
6201 Oak Canyon Dr., Suite 200
Irvine, CA 92618
c/o James C. Kieckhafer

Tel: (949) 250-3900

Audit & Tax
Services

 

$ 67,722.42

 

Diversified Data & Comm. Inc.
10811 Northend

Ferndale, MI 48220

c/o Sales Person 0040

Tel: (248) 399-0715

Operations - Letter
Printing

$57,355.11

 

 

KPMG, LLP

_ Dept 0922

P.O. Box 120001

Dallas, TX 75312-0922

c/o Laurel Sutcliffe
Tel: (415) 963-7762

Forensic Services

$ 41,894.00

 

First Insurance Funding Corp.
8075 Innovation Way
Chicago, IL 60682

Tel: (800) 837-2511

 

 

General Business
Insurance

 

704414.1

 

 

 

| 3 18,446.12

 

 

 
Case 09-10200-BLS Doc1 Filed 01/19/09 Page 9 of 16

 

 

 

 

 

 

 

 

 

 

 

 

 

704414.5

 

 

 

 

 

Name, telephone number and Nature of claim . | & AMOUNT OF
complete mailing address, trade debt, bank a Be a | CLAIM (if
including zip code, of employee, loan, government Ps a ra secured also
agent, or department of creditor contract, etc. z 5 => | state value of
familiar with claim who may be 5 Y a security)
contacted Oo] x =
O18

Great American Networks Operations — $ 12,234.24
15700 103rd Street Phones
Lemont, IL 60439
Tel: (312) 432-5300
Banner Personnel Service, Inc. Recruiting Fee $ 10,00.00
1701 East Woodfield Road, Ste 600
Schaumburg IL 60173-5101
c/o Karen Blazich
Tel: (847) 706-9301
InfoSend, Inc. Operations — Letter $ 14,041.43
1041 S. Placentia Ave Printing
Fullerton, CA, 92831-5105
Tel: (714) 525-8600
Devon & Devon Career Operations — Temp $ 10,228.25
Professionals Labor
P.O. Box 27008
Salt Lake City, UT 84127
c/o Tracy Garcia
Tel: (801) 963-2512
Los Angeles Times Operations — Career $ 8,260.03
Times Minor Square Builder
Los Angeles, CA 90053
Tel: (800) 528-7515
Platinum Advisors Professional Y | $6,125.00
1215 K Street, Suite 1150 Services
Sacramento, CA 95814
c/o Ashton Arnold
Tel: (949) 369-6210

3

 
Case 09-10200-BLS

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Name, telephone number and

 

 

 

 

 

 

 

 

 

 

 

 

 

Nature of claim ~. | a AMOUNT OF |
complete mailing address, trade debt, bank Z, ea eq | CLAIM (if
including zip code, of employee, loan, government 5 a = secured also
agent, or department of creditor | contract, ete. Zz, 5 — | state value of

| familiar with claim who may be 5 o ws security)
contacted Oo} =
Ula
—
Corporate Express, Inc., Operations -- Office $ 5,781.72
16501 Trojan Way Supplies
La Mirada, CA 90638
c/o Mark Fennell
Tel: (714) 868-4276
Tamco Capital Corp Operations — Lease v¥ | $4,878.92
P.O. Box 6434 of Phone Systems
Carol Stream, IL 60197-6434
Tel: (866) 497-0863
Henderson, Franklin, Starnes & Legal Fees $ 4,415.10
Holt, P.A.,
PO Box 280
Fort Myers, FL 33902-0280
c/o Beth Heyboer
Tel: (239) 344-0280
Everest National Insurance Co. Workers Comp - $ 4,132.32
P.O. Box 499 Insurance Payment
| Newark, NJ 07101-0499
Tel: (877) 604-1995
Dell Financial Services — 013 Purchase of $ 3678.14
DFS Acceptance, Payment Computer
Processing Center Equipment
PO Box 5275
Carol Stream, IL 60197-5275
Tel: (866) 413-3355
Key Equipment Finance Lease of Mailroom $ 3,252.61

 

 

System Ops-NY-31-66-0819 Equipment
P.O. Box 1865
Albany, NY 12201-1865
c/o Emile
Tel: (720) 304-1241
4

7044141
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Name, telephone number and
complete mailing address,
including zip code, of employee,
agent, or department of creditor

| Nature of claim

trade debt, bank
loan, government
contract, etc.

CONTINGENT

UNLIQUIDATED

DISPUTED

AMOUNT OF
CLAIM (if
secured also
state value of

 

 

 

 

 

 

 

 

704414,1

familiar with claim who may be security)
contacted
| Pitney Bowes Purchase of Postage $ 3,172.52
P.O. Box 856390 Machine
Louiseville, KY 40285-6390
Tel: (800) 228-1071
5

 
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

x
In re: : Chapter 11
AMERICAN CORRECTIVE : Case No. 09-—__ ( )
COUNSELING SERVICES, INC..!
(Jointly Administered)
Debtors.
X

CERTIFICATION CONCERNING LIST OF CREDITORS
HOLDING 20 LARGEST UNSECURED CLAIMS

I, Michael Schreck, am the Chief Executive Officer of the debtor and debtor in
possession (the “Debtor’’) in the above-captioned case and hereby certify under penalty of
perjury that the List of Creditors Holding 20 Largest Unsecured Claims, submitted herewith, is
complete and to the best of the Debtor’s knowledge correct and consistent with Debtor’s books
and records.

The information contained herein is based upon a review of the Debtor’s books
and records. However, no comprehensive legal and/or factual investigations with regard to
possible defenses to any claims set forth in the List of Creditors Holding 20 Largest Unsecured
Claims have been completed. Therefore, the listing does not and should not be deemed to
constitute: (1) a waiver of any defense to any listed claims; (2) an acknowl edgement of the
allowability of any listed claims; and/or (3) a waiver of any other right or legal position of the

Debtor.

 

' The Debtors in these cases, along with each Debtor's federal tax identification number, are: SCH Corp. (20-
1829454); American Corrective Counseling Services, Inc. (XX-XXXXXXX); and ACCS Corp. (XX-XXXXXXX), For
purposes of these chapter 11 cases, the address for all Debtors is: 180 Avenida LaPata, San Clemente, CA 92673.

7044 14.1
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1/18/2889 14:21 3492668991 MICHAEL SCHRECK PAGE 12/17

I declare under penalty of perjury that the foregoing is trie and correct, Executed

this / / day oqaly, 2009.
Signature:
CS

=

704414.1
Case 09-10200-BLS Doci1 Filed 01/19/09 Page 14 of 16

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re: Chapter 11
AMERICAN CORRECTIVE : Case No. 09- (_)
COUNSELING SERVICES, INC.,!
(Jointly Administered)
Debtors.
x

 

LIST OF EQUITY SECURITY HOLDERS

 

 

 

 

 

| CLASS OF NUMBER OF
SHAREHOLDER ADDRESS EQUITY SHARES
ACCS Corp. 180 Avenida La Pata Common Stock 2,500
Suite 200
San Clemente, CA 92673
ACCS Corp. 180 Avenida La Pata Series A 48,080.2942
Suite 200 Redeemable

San Clemente, CA 92673 | Cumulative
Preferred Stock

 

 

 

 

 

 

' The Debtors in these cases, along with each Debtor’s federal tax identification number, are: SCH Corp. (20-
1829454); American Corrective Counseling Services, Inc. (XX-XXXXXXX); and ACCS Corp. (XX-XXXXXXX). For
purposes of these chapter | 1 cases, the address for all Debtors is: 180 Avenida LaPata, San Clemente, CA 92673.

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Case 09-10200-BLS Doc1 Filed 01/19/09 Page 15 of 16

PAGE 14/17
B1/18/2669 14:21 3492668991 MICHAEL SCHRECK

IN THE UNITED STATES BANKRUPTCY COURT

 

FOR THE DISTRICT OF DELAWARE
‘ x.
In re: ; Chapter 1]
AMERICAN CORRECTIVE : CaseNo.09 (_)
COUNSELING SERVICES, INC.,' :
Gointly Administered)
Debtors.

CERTIFICATION CONCERNING EQUITY SECURITY HOLDERS

I, Michael Schreck, am the Chief Executive Officer of the debtor and debtor in

 

Possession (the “Debtor”) in the above-captioned cuse and hereby certify under penalty of
perjury that the list submitted herewith, pursuant to T.ocal Rule 1007-1(a) of the Local Rules of
Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the District of
Delaware, formatted in portable document format, containing the List of Equity Security Holders
of the Debtor, is complete and to the best of the Debtor’s knowledge correct and consistent with
Debtor's books and records.

I declare under penalty of perjury that the foregoing is true and correct. Executed

tie 41" day om LANA, 2009. 7 wy

 

: The Debtors in these cases, along with each Debtor's federal tax identification number, are: SCH Corp. (20-
1829454); American Corrective Counseling Services, Inc, (XX-XXXXXXX); and ACCS Comp. (XX-XXXXXXX). Far
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704414.)

 
Case 09-10200-BLS Doci1 Filed 01/19/09 Page 16 of 16

94926568991 MICHAEL SCHRECK PAGE 17/17

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

4
Inre: : Chapter 11

AMERICAN CORRECTIVE : Case No. 09- (_)
COUNSELING SERVICES, INC.) :
> Gointly Administered)

Debtors.

 

X

STATEMENT OF CORPORATE OWNERSHIP PURSUANT TO RULES 1O07(A)
AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE
Michael Scbreck declares under penalty of perjury under the laws of the United
States of America, as follows:
1, I am the Chief Executive Officer of American Corrective Counseling
Services, Inc.,.
2. The entities listed below own, directly or indirectly, 10% or more of airy

class of equity interests of the above captioned Debtor.

 

 

 

 

 

 

 

Zz CLASS OF | NUMBER oF |
SHAREHOLDER ADDRESS EQUITY SHARES
ACCS Corp. 180 Avenida La Pata Common 2,500

Suite 200 Stock
San Clemente, CA 92673
ACCS Corp. 180 Avenida La Pata Series A 48,080.2942
Suite 200 Redeemable
San Clemente, CA 92673 | Cumulative
Preferred
Stock |

 

 

 

 

 

Executed wal ig olin ae a

" “Lhe Debtors in these cases, along with each Debtor's federal tax identification number, are: SCH Corp. (20-
1829454); American Corrective Counseling Services, Inc. (XX-XXXXXXX); and ACCS Corp. (XX-XXXXXXX). For
Purposes of these chapter 11 cases, the address for all Debtors is: 180 Avenida LaPata, San Clemente, CA 92673,

7044 14.1

 

 
